      Case 1:20-cv-00116-JRH-BKE Document 18 Filed 01/19/21 Page 1 of 12




               IN THE UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF GEORGIA            U.S. C- ;
                               AUGUSTA DIVISION


DEBORAH LAUFER,                           *                     ■ ZOZi M n P 2^ 38
                                          *


        Plaintiff,                        *
                                          tIt                       0 J. i-' J    i.

               V.                         *               CV 120-116
                                          *


SWAMI OF GEORGIA, LLC,                    *
                                          *


        Defendant.                        *
                                          *


                                          *




                                     ORDER




       Presently     before    the     Court    is   Plaintiff's     "Motion             for

Attorney Fees, Costs, Expert Fees and Litigation Expenses."                            (Doc.

17.)    For the following reasons. Plaintiff's motion is GRANTED.



                                 I. BACKGROUND


       On August 19, 2020, Plaintiff initiated the present action

against     Defendant    for    violations       under    the   Americans               with

Disabilities Act, 42 U.S.C. § 12181 at sag. ("ADA").                         (Docs. 1,

5.)    The Clerk entered default on October 7, 2020.                (Doc. 10.)            On

November 6, 2020, the Court granted Plaintiff's motion for default

judgment and stated that upon resolution of the attorney's fees

and    costs   issue,   the    Court    will    enter    judgment    in          favor    of

Plaintiff against Defendant.           (Doc. 12.)    The Order then instructed

Plaintiff to file her application for attorney's fees and costs.
    Case 1:20-cv-00116-JRH-BKE Document 18 Filed 01/19/21 Page 2 of 12




To date. Defendant has not appeared, plead, or otherwise defended

this action.




                            II. DISCUSSION


     With respect to attorney's fees and costs, the ADA provides:

     In any action or administrative proceeding commenced
     pursuant to this chapter, the court or agency, in its
     discretion, may allow the prevailing party, other than
     the   United    States,    a   reasonable    attorney's    fee,
     including litigation expenses, and costs, and the United
     States shall be liable for the foregoing the same as a
     private individual.

42 U.S.C. § 12205.     The Court has already determined attorney's

fees and costs are justified in this case.         (See Doc. 12, at 7.)

Thus, the only issue remaining for the Court to determine is what

amount of fees and costs is reasonable.


     The Eleventh Circuit has adopted the lodestar method for

determining reasonable attorney's fees.          Norman v. Housing Auth.

of Montgomery, 836 F.2d 1292, 1299-1302 (11th Cir. 1988).                The

"lodestar" is calculated by "multiply[ing] the number of hours

reasonably expended on the litigation by the customary fee charged

in the community for similar legal services . . . ."             Ass'n of

Disabled Ams. v. Neptune Designs, Inc., 469 F.3d 1357, 1359 (11th

Cir. 2006) (citing Hensley v. Eckerhart, 461 U.S. 424, 433-34

(1983); Norman, 836 F.2d at 1299).          "In determining what is a

'reasonable' hourly rate and what number of compensable hours is

'reasonable,' the court is to consider the 12 factors enumerated
   Case 1:20-cv-00116-JRH-BKE Document 18 Filed 01/19/21 Page 3 of 12




in Johnson v. Georgia Highway Express, Inc.^ 488 F.2d 714 (5th

Cir. 1974)." Bivins v. Wrap It Up, Inc., 548 F.3d 1348, 1350 (11th

Cir. 2008).      The Johnson factors include:

     (1) the time and labor required; (2) the novelty and
     difficulty of the questions; (3) the skill requisite to
     perform the legal service properly; (4), the preclusion
     of employment by the attorney due to acceptance of the
     case; (5) the customary fee; (6) whether the fee is fixed
     or contingent; (7) time limitations imposed by the
     client or the circumstances; (8) the amount involved and
     the results obtained; (9) the experience, reputation,
     and ability of the attorneys; (10) the "undesirability"
     of    the    case;   (11)   the     nature   and   length    of   the
     professional     relationship       with   the   client;    and   (12)
     awards in similar cases.


Id. at 1350 n. 2 (citation omitted).

A. Reasonable Hourly Rate

     The   Court    first   turns   to   the    reasonable    hourly   rate.   A

reasonable rate is "the prevailing market rate in the relevant

legal community for similar services by lawyers of reasonably

comparable skills, experience, and reputation."               Norman, 836 F.2d

at 1299 (citation omitted).         The "going rate" in the community is

the most critical factor in setting the fee rate.               Martin v. Univ.

of S. Ala., 911 F.2d 604, 610 (11th Cir. 1990).              The relevant legal

community is the      district in        which the court sits, here, the

Southern District of Georgia, Augusta Division.                  See Knight v.

Alabama, 824 F. Supp. 1022, 1027 n.l (N.D. Ala. 1993) (citing

Turner v. Sec^y of Air Force, 944 F.2d 804, 808 (11th Cir. 1991)).

Because the Court is itself considered an expert on hourly rates
   Case 1:20-cv-00116-JRH-BKE Document 18 Filed 01/19/21 Page 4 of 12




in the coimnunity, it may consult its own experience in forming an

independent judgment.         Loranger v. Stierheim^ 10 F.3d 776, 781

(11th    Cir.   1994).       This   Court    has    previously    determined    a

reasonable billing rate in the Augusta market is $300 per hour.

See Whitesell Corp. v. Electrolux Home Prods., .Inc., No. CV 103-

050, 2019 WL 1714135, at *2 (S.D. Ga. Apr. 17, 2019) (citations

omitted).

        Attorney Gillespie seeks an hourly rate of $425.00. The Court

finds this rate is unreasonably high.                First, this type of ADA

litigation is not complex litigation.              See Larkin v. Envoy Orlando

Holdings LLC, No. 6:15-cv-439, 2015 WL 12857079, at *2 (M.D. Fla.

Dec. 21, 2015) ("This is not complex litigation. It is essentially

a form practice and no special skill is required.").                 This was a

straightforward ADA lawsuit in which Defendant failed to respond,

resulting in default judgment.           Moreover, as discussed in detail

below. Attorney Gillespie uses the same form complaints and motions

in all his cases.          Thus, the time and labor required to handle

this case was minimal.        Given the relevant Johnson factors and the


Court's own     judgment, the Court finds $325.00 is a               reasonable

hourly rate.

B. Reasonable Hours Expended

        Having determined a reasonable          hourly rate, the Court now

addresses    the   hours    reasonably      expended.     Fee    applicants    are

required to exercise "billing judgment."             Am. Civ. Liberties Union
   Case 1:20-cv-00116-JRH-BKE Document 18 Filed 01/19/21 Page 5 of 12




of Ga. V. Barnes, 168 F.3d 423, 428 (11th Cir. 1999).              This means

"excessive, redundant, or otherwise unnecessary hours . . . that

would be unreasonable to bill to a client" must be excluded.              Id.

(internal citations and quotations omitted).              Although Defendant

failed to object to Plaintiff's motion, the Court has a duty not

to award excessive attorney's fees and expenses.            See Id. ("If fee

applicants do not exercise billing judgment, courts are obligated

to do it for them. . . . Courts are not authorized to be generous

with the money of others . . . .").

     According to Plaintiff's "Bill of Costs" and "Timesheet,"

Attorney Gillespie billed 15.8 hours in this case.            (See Docs. 17-

2, 17-9.)     A review of the line item entries reveals excessive

billing.    "When a district court finds the number of hours claimed

is unreasonably high, the court has two choices: it may conduct an

hour-by-hour analysis or it may reduce the requested hours with an

across-the-board cut." Bivins, 548 F.3d at 1350.           Since the billing

record in this case is brief, the Court will conduct an hour-by-

hour analysis.       See Loranger, 10 F.3d at 783 (finding where fee

application    is    voluminous,   an    across-the   board    cut   is   more

appropriate).

     First,    the   Court   addresses    a   recurring    issue   throughout

Attorney Gillespie's billing: many of the time entries consist of

clerical or secretarial work.       "[A] fee applicant is not entitled

to compensation at an attorney's rate simply because an attorney
     Case 1:20-cv-00116-JRH-BKE Document 18 Filed 01/19/21 Page 6 of 12




undertook tasks which       were mundane, clerical or which did not

require the full exercise of an attorney's education and judgment."

Norman, 836 F.2d at 1306; see also For Play Ltd. v. Bow to Stern

Maint., Inc., No. 05-22002-CIV, 2006 WL 3662339, at *7 (S.D. Fla.

Nov. 6, 2006) (finding "the great majority of courts within the

Eleventh    Circuit" have   determined that clerical or secretarial

work is not compensable).       This Court has previously determined

that filing is clerical work.          See Martin v. Augusta-Richmond

Cnty., Ga., Comm'n, No. CV 112-058, 2012 WL 5950408, at *7 n.4

(S.D. Ga. Nov. 28, 2012)("Work that is clerical or secretarial in

nature, such as gathering, copying, mailing, and filing documents

is not separately compensable as attorney's fees." (citations

omitted) )' .   Thus, Plaintiff is not entitled for fees for the

following work: 0.4 hours on August 26, 2020 described as "Receive

and file Affidavit of Service" and 0.4 hours on September 15, 2020

described as "Receive and file Affidavit of Service."            (See Doc.

17-9.)     Additionally, five other billing entries include time for

filing.     As the Court explains further below, these entries will

be reduced.


      Now the Court will conduct an hour-by-hour analysis beginning

with the drafting of the initial complaint.           Attorney Gillespie

entered 2.5 hours of billing for drafting and filing the summons

and complaint.     This seems excessive given the fact that counsel

has essentially filed the same boiler-plate complaint on behalf of
    Case 1:20-cv-00116-JRH-BKE Document 18 Filed 01/19/21 Page 7 of 12




Plaintiff over twenty times in the Southern District alone.^             The

Court has compared the complaint in this case to other complaints

filed on behalf of Plaintiff in this District and found they are

identical except for the paragraph identifying the defendant and

the alleged ADA violations of the website the defendant utilizes.

The Court finds it is not reasonable that it took counsel 2.5 hours

to make these small revisions.      See Houston v. S. Bay Invs. # 101^

LLC, No. 13-80193-CV, 2013 WL 3874026, at *2 (S.D. Fla. July 25,

2013) (reducing compensable hours requested because "[gjiven the

similarities    between     the   instant   complaint    and   complaints

Plaintiff filed in previous and contemporaneous cases, the Court

doubts    counsel   could    reasonably     spend   eighty-four   minutes

preparing the Complaint"); Fox v. The Marquis Corp., No. 08-81264-

CIV, 2010 WL 1010871, at *5 (S.D. Fla. Mar. 15, 2010) (finding 1.2

hours claimed for drafting complaint excessive because "counsel

use[s] the same form filings in all the ADA cases [he] bring[s]").

Thus, the time for drafting the complaint should be reduced to 1.0

hour.    Attorney Gillespie also billed 1.4 hours for amending and

filing an amended complaint that corrected the named defendant.

Billing 1.4 hours to update the name of the defendant is excessive.




1 Plaintiff has also filed a similar complaint in 62 cases in the
Northern District of Georgia and 17 cases in the Middle District
of Georgia.

                                     7
      Case 1:20-cv-00116-JRH-BKE Document 18 Filed 01/19/21 Page 8 of 12




Thus, the time for drafting the amended complaint shall be reduced

to 0.25 hours.


       Moreover, Attorney Gillespie billed 2.9 hours for drafting

and filing Plaintiff's motion for attorney's fees.             As this Court

has   already made     clear, time for filing         is   not compensable.

Additionally, after reviewing the docket of many cases Plaintiff

cited to in her motion for attorney's fees. Plaintiff's motion for

attorney's fees is also boiler-plate.^             Thus, billing 2.9 hours

for   minor    additions   and   revisions is    excessive.    The   time for

drafting the motion for attorney's fees shall be reduced to 1.5

hours.    For the same reasons, the 2.5 hours claimed for drafting

and filing Plaintiff's motion for default judgment shall be reduced

to 1.0 hour.


       Next, Attorney Gillespie billed 0.9 hours for drafting and

filing Plaintiff's motion for clerk's entry of default.                  Since

filing    is   not   compensable    and   the   two-sentence   motion    was   a

standard filing, the time shall be reduced to 0.3 hours.                Counsel

also billed 0.3 hours for "review[ing] clerk's entry of default."

The Court finds spending 18 minutes reviewing a standard filing on

the   docket unreasonable, especially given Attorney Gillespie's

experience.      Thus, this time shall be reduced to 0.1 hours.



^ See e.g., Pl.'s Mot. for Att'y Fees, Kennedy v. Avadhoot, LLC,
No. 4:19-cv-211 (N.D. Ga. Dec. 16, 2019), ECF No. 8; Laufer v.
Jetset Hosp., LLC, No. l:20-cv-1192 (D.D.C. Aug. 18, 2020), ECF
No. 11.
   Case 1:20-cv-00116-JRH-BKE Document 18 Filed 01/19/21 Page 9 of 12




     Finally, the Court has concerns with the amount of time

claimed for determining the name and address of the corporate owner

of the hotel at issue.      Attorney Gillespie claims he spent 1.6

hours researching the name and address of the corporate owner^,

then another 0.9 hours discussing transfer and ownership of said

hotel with the original misnamed defendant, and then 0.9 hours

reviewing documents of said ownership transfer.      In total. Attorney

Gillespie spent 3.4 hours determining the correct party to sue.

In Fox the Court determined "computerized searches for the subject

property's ownership" were not the type of searches "typically

conducted by a senior partner."        Fox, 2010 WL 1010871, at *5.

Instead, this is the type of work typically done by a paralegal or

associate attorney and should be billed accordingly.        Although the

Court does not know Attorney Gillespie's status at the firm, he is

the lead attorney on this case and others filed in the District.

Thus, the Court finds this time excessive.       Accordingly, the time

billed for researching the name and address of the corporate hotel

shall be reduced to 1.0 hour and the time researching and reviewing

ownership documentation shall be reduced to 0.5 hours.         The Court

leaves the time requested for discussing transfer and ownership of

said hotel with the original misnamed defendant as is.




3 Even given this time. Plaintiff still failed to name the correct
Defendant in her initial complaint. (See Docs. 1, 5.)
      Case 1:20-cv-00116-JRH-BKE Document 18 Filed 01/19/21 Page 10 of 12



       In short, Plaintiff requested compensation for a total of

15.8 hours.      For the reasons stated above, the Court finds 7.65

hours to be reasonable.^


C. Calculation of the Loadstar


       As   stated    above,   to   determine   the   loadstar,    the   Court

multiplies      the   number   of    hours   reasonably   expended    on    the

litigation by the customary fee charged in the community for

similar legal services.         See Neptune Designs, 469 F.3d at 1359.

Multiplying 7.65 hours, the number of hours the Court determined

were reasonably expended by counsel, by $325.00 per hour, the

reasonable hourly rate, results in a lodestar amount of $2,486.25.

D. Expert Fees, Costs, and Expenses

        Plaintiff also seeks $400.00 for filing fees; $280.00 for

process server costs; $650.00 for initial investigation fee; and

$650.00 for reinspection fee.           (Doc. 17-2.)      The first two are

taxable costs under 25 U.S.C. § 1920 and are granted.              See Kennedy

V. Three       s L.L.P., No. 2:16-cv-214, 2018 WL 1036989, at *7-8

(M.D. Fla. Feb. 6, 2018), report and recommendation adopted, 2018

WL 1010838 (M.D. Fla. Feb. 22, 2018).            Moreover, the Court finds

the    initial investigation        fee to be   reasonable   and   awards the




^ Attorney Gillespie also billed 0.3 hours for reviewing the
Court's Order regarding default judgment, 0.5 hours for the initial
pre-suit investigation, and 0.3 hours for researching whether
Defendant was a party to any prior ADA lawsuits. The Court finds
these entries are reasonable and grants them in full.

                                       10
   Case 1:20-cv-00116-JRH-BKE Document 18 Filed 01/19/21 Page 11 of 12




amount requested.      See Hansen v. Deercreek Plaza^ LLC, 420 F. Supp.

2d 1346, 1353 (S.D. Fla. 2006) ("A prevailing ADA plaintiff may

recover expert fees as a litigation expense." (quoting Lovell v.

Chandler, 303 F.3d 1039, 1058 (9th Cir. 2002)).

       However, the Court finds the requested $650.00 reinspection

fee unreasonable given its lack of justification in Plaintiff's

motion.     Although Plaintiff cites to other district courts that

have     awarded   such     fees    to   ensure     post-judgment    compliance.

Plaintiff has not explained what this reinspection will entail and

why $650.00 is appropriate.           See Harty v. Bapuji, Inc., No. 8:10-

cv-2720, 2012 WL 2044970, at *5 (M.D. Fla. May 17, 2012), report

and recommendation adopted, 2012 WL 2050373 (M.D. Fla. June 6,

2012) (denying reinspection fee because plaintiff failed to submit

"a proposed invoice or any documentation to identify the hourly

rate or anticipated time such reinspection would take").                Further,

this fee can be distinguished from many cases where reinspection

fees have been awarded.            Here, the expert is not inspecting the

actual premises of the hotel at issue for ADA compliance.               Instead,

the expert is conducting a mere internet search.                 See Cusson v.

Illuminations I, Inc., No. 1:ll-cv-00087, 2013 WL 103225, at *6

(N.D.    Fla.   Jan.   7,   2013)   (awarding     $350.00   reinspection   where

expert    was   required     to     visit   hotel    property   to   ensure   ADA

modification had been completed); Harty v. Mal-Motels, Inc., No.

6:lO-cv-1333, 2012 WL 6541873, at *9 (M.D. Fla. Nov. 26, 2012),


                                         11
   Case 1:20-cv-00116-JRH-BKE Document 18 Filed 01/19/21 Page 12 of 12




report and recommendation adopted, 2012 WL 6535212 (M.D. Fla. Dec.

14, 2012) (finding $1,000.00 re-inspection fee excessive, even

where expert had to visit property to ensure post-suit compliance).

Thus, the requested inspection fee is denied.

     Accordingly, the Court awards $1,330.00 in expert fees and

costs.




                           III. CONCLUSION


     For the foregoing reasons. Plaintiff's "Motion for Attorney

Fees, Costs, Expert Fees and Litigation Expenses" (Doc. 17.) is

GRANTED to the extent detailed in this Order.      Plaintiff is awarded

the sum of $2,486.25 for reasonable attorney's fees and the sum of

$1,330.00 for costs and expert fees for a total award in the sum

of $3,816.25.   The Clerk is DIRECTED to ENTER JUDOffiNT in favor of

Plaintiff and CLOSE this case.


     ORDER ENTERED at Augusta, Georgia, this /"^^ay of January,
2021.




                                  J. RAMQMj^ALL, CHTEF JUDGE
                                 UNITED~^ATES DISTRICT COURT
                                 ~S0UTHE^ district of GEORGIA




                                   12
